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Case 3:19-cv-04613-WHA Document 61 Filed 09/10/20 Page 1 of 11

XAVIER BECERRA

Attorney General of California
ANTHONY R. HAKL

Supervising Deputy Attorney General

’ JERRY T. YEN

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Attorneys for State of California and Xavier Becerra,
in his official capacity as California Attorney General

IN THE UNITED STATES DISTRICT COURT

FOR THE NORTHERN DISTRICT OF CALIFORNIA

 

EASTON STOKES,
Plaintiff,

Case No. 3:19-cv-04613-WHA

DEFENDANT ATTORNEY GENERAL

‘ XAVIER BECERRA’S NOTICE OF
v. MOTION; MOTION FOR JUDGMENT
ON THE PLEADINGS; POINTS OF
AUTHORITIES IN SUPPORT OF
MOTION FOR JUDGMENT ON THE

THE UNITED STATES DEPARTMENT

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OF JUSTICE, WILLIAM BARR,

’ individually and as Attorney General of the

United States, THE U.S. BUREAU OF
ALCOHOL, TOBACCO, FIREARMS AND
EXPLOSIVES (ATF); REGINA
LOMBARDO individually and as Acting
Director of ATF; THE FEDERAL

- BUREAU OF INVESTIGATION;

Christopher Wray individually and as
Director of the Federal Bureau of
Investigation; STATE OF CALIFORNIA,
XAVIER BECERRA, individually and
acting as Attorney General of the State of

. California, THE SONOMA COUNTY

SHERIFF'S OFFICE, MARK ESSICK,
individually and as Sheriff of Sonoma
County,

Defendants.

 

 

 

PLEADINGS
(Fed. R. Civ. P. 12 (c)]

Date: October 15, 2020
Time: 8:00 a.m.
Courtroom: 12

Judge: Hon. William Alsup
Trial Date: December 7, 2020

Action Filed: August 12, 2019

 

Defendant Attorney General Xavier Becerra’s Notice of Motion; Mot. for Judgment on the Pleadings:
P, & A. in Support of Mot. for Judgment on the Pleadings (3:19-cv-04613-WHA)
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Case 3:19-cv-04613-WHA Document 61 Filed 09/10/20 Page 2 of 11

TO THE PARTIES AND THEIR ATTORNEYS OF RECORD:
PLEASE TAKE NOTICE that on October 15, 2020, at 8:00 a.m., or as soon thereafter as

the matter may be heard before the Honorable William Alsup in Courtroom 12 on the 19th Floor

_ of the United States District Court for the Northern District of California, located at the San

Francisco Courthouse, 450 Golden Gate Avenue, San Francisco, CA 94102, Defendant Attorney
General Xavier Becerra will and hereby does move under Rule 12(c) of the Federal Rules of Civil
Procedure for an order granting judgment on the pleadings in favor of the State of California and
Attorney General Becerra. This motion is based on this Notice of Motion and Motion, the
accompanying Memorandum of Points and Authorities, all pleadings and papers on file in this
action, and such other matters as may properly come before the Court.

Attorney General Becerra’s motion is made on the grounds that (1) this suit against the
California Attorney General is barred by the Eleventh Amendment, and (2) Plaintiff fails to

establish a case or controversy against the California Attorney General as required for Article III

jurisdiction.

Dated: September 10, 2020 Respectfully submitted,

XAVIER BECERRA

Attorney General of California
ANTHONY R. HAKL

Supervising Deputy Attorney General

/s/ Jerry T. Yen
JERRY T. YEN
Deputy Attorney General
Attorneys for State of California and Xavier
Becerra, in his official capacity as California
Attorney General

 

Defendant Attorney General Xavier Becerra’s Notice of Motion, Mot. for Judgment on the Pleadings;
P. & A. in Support of Mot. for Judgment on the Pleadings (3:19-cv-04613-WHA)
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Case 3:19-cv-04613-WHA Document 61 Filed 09/10/20 Page 3 of 11

TABLE OF CONTENTS
Page
IntrOduction .......:cccesccssecssecetessecssssensesesssecseessessaecssesseessessseeesscsueseasscsessseesneseeaessnsenssenssaseaneatssessenseas ]
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Defendant Attorney General Xavier Becerra’s Notice of Motion; Mot. for Judgment on the Pleadings;
P. & A. in Support of Mot. for Judgment on the Pleadings (3:19-cv-04613-WHA)}

 
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Case 3:19-cv-04613-WHA Document 61 Filed 09/10/20 Page 4 of 11

TABLE OF AUTHORITIES

Cases

- ACLU of Nev. v. Masto, ,
670 F.3d 1046 (9th Cir. 2012). cee ccecsseceetsseeessesercesesteesesseeeresseseesassnesssesusesseeses

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Long v. Van de Kamp,

961 F.2d 151 (Sth Cir, 1992) ce cseeseecseecereneaeeeceaeeeesseeteseecesaeseneeecessessasseeaseesaesee

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Case No. 2:18-cv-02793-KJM-KJN, 2019 WL 271562] (E.D. Cal. June 28,

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Defendant Attorney General Xavier Becerra’s Notice of Motion; Mot. for Judgment on the Pleadings:
P. & A. in Support of Mot. for Judgment on the Pleadings (3:19-cv-04613-WHA)
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Case 3:19-cv-04613-WHA Document 61 Filed 09/10/20 Page 5 of 11

 

TABLE OF AUTHORITIES
(continued)
Page
Statutes
United States Code Title 18 .
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Federal Rule of Civil Procedure
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Defendant Attomey General Xavier Becerra’s Notice of Motion; Mot. for Judgment on the Pleadings;
P. & A. in Support of Mot. for Judgment on the Pleadings (3:19-cv-046 1 3-WHA)
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Case 3:19-cv-04613-WHA Document 61 Filed 09/10/20 Page 6 of 11

MEMORANDUM OF POINTS AND AUTHORITIES
INTRODUCTION

A person who has been subject to a mental health hold under California Welfare &

Institutions Code § 5250 (a “5250 hold”) generally is prohibited under federal law from

purchasing or possessing firearms. This is because federal law (18 U.S.C. § 922(¢)(4)) prohibits
any person “who has been adjudicated as a mental defective or who has been committed toa
mental institution” from doing so.

Plaintiff Easton Stokes, who has been subject to a 5250 hold, asks this Court to declare that
18 U.S.C. § 922(g)(4) violates his constitutional rights. However, the Complaint does not request

any relief from the California Attorney General. Indeed, Attorney General Becerra, as the head

" of the California Department of Justice (CA DOJ), is not responsible for enforcing the federal

statute at issue in this case. Moreover, the CA DOJ has no ability to alter Plaintiff's mental health

records nor does it have the authority to change Plaintiff's status from a “prohibited Person” so

" that he is able to possess a firearm under federal law. Thus, Attorney General Becerra

respectfully requests that the Court grant this motion for judgment on the pleadings.
BACKGROUND
According to the Complaint, in 2002, Plaintiff checked himself into a Kaiser facility
seeking treatment for mental changes and depression. Complaint, August 12, 2019, ECF No.1, |

4 24. He was then transported to a local mental health treatment facility, where he stayed for 16

- days. Jd. at 7 25-26. Mr. Stokes was then subject to a 5250 hold. See id. at § 25.

In 2016, Mr. Stokes submitted a Personal Firearms Eligibility Check to the CA DOJ. Jd. at |

€ 30, Exhibit 3 (Declaration of Easton Stokes), at 7. He was later informed that he was

. ineligible to possess or purchase a firearm. /d.; see also id. at Exhibit 1 (Firearms Eligibility

Notification). Under federal law, Mr. Stokes is ineligible because of the Welfare & Institutions

Code § 5250 designation in his record.’ See 18 U.S.C. § 922(g)(4).

 

' Under California law, Plaintiff is permitted to possess a firearm since it has been more
than five years since he was subject to the 5250 hold. Welfare & Institutions Code § 8103(g)(1)
(“No person who has been certified for intensive treatment under Section 5250... shall own,
possess, control, receive, or purchase, or attempt to own, possess, control, receive, or purchase,
any firearm for a period of five years”). I

 

Defendant Attorney General Xavier Becerra’s Notice of Motion; Mot. for Judgment on the Pleadings,
P. & A. in Support of Mot. for Judgment on the Pleadings (3:19-cv-04613-WHA)
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Case 3:19-cv-04613-WHA Document 61 Filed 09/10/20 Page 7 of 11

LEGAL STANDARD

Federal Rule of Civil Procedure 12(c) permits a party to move for judgment on the

' pleadings after the pleadings are closed, but early enough not to delay trial. “Because a Rule

12(c) motion is functionally identical to a Rule 12(b)(6) motion, the same standard of review

applies to motions brought under either rule.” Gregg v. Hawaii, Dep't of Pub. Safety, 870 F.3d

- 883, 887 (9th Cir, 2017) (internal citations and quotations omitted). The allegations of the

complaint “must plausibly suggest an entitlement to relief.” Jd. “A judgment on the pleadings is

properly granted when, taking al! the allegations in the pleadings as true, the moving party is

. entitled to judgment as a matter of law.” Jd.

ARGUMENT

I. ATTORNEY GENERAL BECERRA IS IMMUNE FROM SUIT UNDER THE ELEVENTH
AMENDMENT

This suit against Attorney General Becerra is barred by the Eleventh Amendment as a

matter of law. The Eleventh Amendment of the United States Constitution “proscribes suit [in

_ federal court] against state agencies regardless of the nature of the relief sought.” (Mitchell v. Los

Angeles, Community College Dist., 861 F.2d 198, 201 (9th Cir. 1988) (citing Pennhurst State
School & Hosp. v. Halderman, 465 U.S. 89, 100 (1984).)

The Supreme Court recognized a limited exception to Eleventh Amendment immunity in
Ex parte Young, 209 U.S. 123 (1908). The Ex parte Young exception allows “suits for
prospective declaratory and injunctive relief against state officers, sued in their official capacities,

to enjoin an alleged ongoing violation of federal law.” Wilbur v. Locke, 423 F.3d 1101, 1111 (9th

Cir. 2005) (quoting Agua Caliente Band of Cahuilla Indians v. Hardin, 223 F.3d 1041, 1045 (9th

Cir. 2000)). However, for the Ex parte Young exception to apply the state officer “must have

some connection with the enforcement of the act, or else it is merely making him a party as a

) representative of the State, and thereby attempting to make the State a party.” Snoeck v. Brussa,

153 F.3d 984, 986 (9th Cir. 1998) (quoting Ex parte Young, 209 U.S. at 157). “This connection

must be fairly direct; a generalized duty to enforce state law or general supervisory power over

' the persons responsible for enforcing the challenged provision will not subject an official to suit.” |

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Defendant Attorney Genera! Xavier Becerra’s Notice of Motion, Mot. for Judgment on the Pleadings;
P. & A. in Support of Mot. for Judgment on the Pleadings (3:19-cv-04613-WHA)
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Case 3:19-cv-04613-WHA Document 61 Filed 09/10/20 Page 8 of 11

L.A. County Bar Ass'n v. Eu, 979 F.2d 697, 704 (9th Cir. 1992) (citing Long v. Van de Kamp, 961

F.2d 151, 152 (9th Cir. 1992); L.A. Branch NAACP v. L.A. Unified Sch. Dist., 714 F.2d 946, 953

(9th Cir. 1983)).

Here, Attorney General Becerra is named as a defendant because Plaintiff generally alleges

that he “is presently enforcing the laws, customs, practices, and policies complained of in this

action.” Compl., at § 15. Nothing more than this vague allegation is set forth in the complaint.

In fact, Plaintiff's complaint does not even state a cause of action against the California Attorney

General nor does the complaint request any relief from the California Attorney General. See id.

at 77 41-65.

In directing the district court to dismiss the California Attorney General on Eleventh

' Amendment grounds, the Ninth Circuit has stated that “there must be a connection between the

official sued and enforcement of the allegedly unconstitutional statute, and there must be a threat

of enforcement.” Long, 961 F.2d at 152. No such connection exists in this case. Attorney

- General Becerra simply lacks the requisite enforcement connection to the allegedly

unconstitutional federal statute nor does he have any authority over whether a mental health
facility imposes a 5250 hold.

In a case with almost identical facts to this one, the Eastern District of California granted
Attorney General Becerra’s motion to dismiss because the Eleventh Amendment barred the

plaintiff's claims against the California Attorney General. Pervez v. Becerra, Case No. 2:18-cv-

. 02793-KJM-KIN, 2019 WL 2715621 (E.D. Cal. June 28, 2019). Like Plaintiff in this case, the

plaintiff in Pervez was subject to a section 5250 hold and was thus prohibited from owning a

firearm under federal law. /d. at *1. She filed a complaint requesting an order that the, CA DOJ

_ erase, amend, or remove all records of her 5250 hold. /d. at *2. The court, however, found that

the Ex parte Young exception did not apply because the CA DOJ does not direct or control the

mental health facilities responsible for the imposition of a 5250 hold, and that the role of the CA

DO] is purely administrative. /d. at *5. Without a direct connection to the 5250 determination,

the court concluded that the Eleventh Amendment barred the plaintiff's claims against the

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Defendant Attorney General Xavier Becerra’s Notice of Motion; Mot. for Judgment on the Pleadings;
_P, & A. in Support of Mot. for Judgment on the Pleadings (3:19-cv-04613-WHA)
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Case 3:19-cv-04613-WHA Document 61 Filed 09/10/20 Page 9 of 11

California Attorney General. Id. at *6. This Court should reach the same conclusion here, and

grant judgment on the pleadings in favor of Attorney General Becerra.

_ II. No JUSTICIABLE CONTROVERSY EXISTS BETWEEN PLAINTIFF AND ATTORNEY

GENERAL BECERRA

Attorney General Becerra also moves for judgment on the pleadings because there is no

controversy between Plaintiff and the California Attorney General. Article III jurisdiction

requires both standing and the existence of a “case or controversy.” See ACLU of Nev. v. Masio,

670 F.3d 1046, 1061-62 (9th Cir. 2012); Cook Inlet Treaty Tribes v. Shalala, 166 F.3d 986, 989

(9th Cir. 1999). If ‘no actual or live controversy” exists between the parties, the plaintiff lacks

standing to bring suit. Foster v. Carson, 347 F.3d 742, 745 (9th Cir. 2003) (internal quotations

omitted). Among other things, standing requires a causal connection between plaintiff's injury

and the defendant's actions. Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992).

As an initial matter, any standing analysis is unnecessary in the event the court were to find
this suit barred by the Eleventh Amendment. See Snoeck, 153 F.3d at 988 (“Because the Eleventh

Amendment bar conclusively ends this dispute we need not address the related issue of standing

' which the district court found plaintiffs lacked.”); L.A. Branch NAACP, 714 F.2d at 949 n.3 (“We

need not ask the district court on remand to find whether these powers and duties are sufficient to

raise a justiciable case or controversy against the Governor in this case, however, since we hold

' below that he is immune from suit here under the Eleventh Amendment.”)

Assuming the Court reaches the standing issue, Plaintiff cannot show that the CA DOJ

affirmatively, or by improper omission, took any unlawful action to harm him. In other words,

’ there is no causal connection.between Plaintiff's injury (inability to possess a firearm) and any

unlawful conduct by the CA DOJ. See Simon v. Eastern Kentucky Welfare Rights Organization, |
426 U.S. 26, 38 (1976) (finding that the plaintiffs lacked standing to challenge the IRS ‘ruling

- because they could not show that their alleged injury, a denial of medical services, was traceable

to the IRS ruling, rather than to the hospitals’ independent action).

By statute, the CA DOJ merely receives information from medical facilities about someone

. being placed under a 5250 hold, and then provides that information to the federal government.

 

Defendant Attorney General Xavier Becerra’s Notice of Motion; Mot. for Judgment on the Pleadings;
P. & A. in Support of Mot. for Judgment on the Pleadings (3:19-cv-04613-WHA)
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. Case 3:19-cv-04613-WHA Document 61 Filed 09/10/20 Page 10 of 11

See Cal. Penal Code § 28220(b) (“The Department of Justice shall participate in the National

- Instant Criminal Background Check System (NICS), as described in subsection (t) of Section 922
of Title 18 of the United States Code”). The CA DOJ does not create such information (it was
created by the mental health facility), and is not authorized to modify or disregard it. Even

. though Plaintiff may disagree with the propriety of his section 5250 hold, that disagreement has
no connection to the CA DOJ and instead should be directed to the mentai health facility.
Moreover, if Plaintiff were to prevail in his constitutional challenge to federal law, he would

_ teceive full relief through the issuance of an injunction against the federal government. In sum,
Plaintiff lacks standing to bring suit against Attorney General Becerra because no case or
controversy exists with respect to the California Attorney General.

. CONCLUSION
The Eleventh Amendment bars Plaintiff from bringing this suit against the California

Attorney General. Moreover, Article III jurisdiction does not exist over Attorney General
Becerra in this case because there is no controversy between Plaintiff and the California Attorney

| General. Accordingly, Attorney General Becerra respectfully requests that the Court grant this
motion for judgment on pleadings, and dismiss the California Attorney General and the State of

California from this case.

Dated: September 10, 2020 Respectfully Submitted,

XAVIER BECERRA

Attorney General of California
ANTHONY R. HAKL

Supervising Deputy Attorney General

/s/ Jerry T. Yen |
JERRY T. YEN |
Deputy Attorney General
Attorneys for State of California and Xavier
Becerra, in his official capacity as.

California Attorney General

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Defendant Attorney General Xavier Becerra’s Notice of Motion; Mot. for Judgment on the Pleadings;
P. & A. in Support of Mot. for Judgment on the Pleadings (3:19-cv-04613-WHA)

 
" Case 3:19-cv-04613-WHA Document 61 Filed 09/10/20 Page 11 of 11

CERTIFICATE OF SERVICE

Case Name: Easton Stokes v. US DOJ, et al No. 3:19-ev-04613-WHA

 

[hereby certify that on September 10, 2020, J electronically filed the following documents with
the Clerk of the Court by using the CM/ECF system:

DEFENDANT ATTORNEY GENERAL XAVIER BECERRA’S NOTICE OF MOTION;
MOTION FOR JUDGMENT ON THE PLEADINGS; POINTS OF AUTHORITIES IN
SUPPORT OF MOTION FOR JUDGMENT ON THE PLEADINGS ‘

I certify that all participants in the case are registered CM/ECF users and that service will be
accomplished by the CM/ECF system.

I declare under penalty of perjury under the laws of the State of California and the United States
of America the foregoing is true and correct and that this declaration was executed on September
10, 2020, at Sacramento, California.

Lindsey Cannan /s/ Lindsey Cannan

 

Declarant Signature

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